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FILED

UNITED STATES DISTRICT COURT JAN 20 2022

FOR THE DISTRICT OF COLUMBIA
Clerk, U.S. District & Bankruptcy

Courts for the District of Columbia

 

IN RE: FURTHER POSTPONEMENT OF Standing Order No. 22-04 (BAH)
JURY TRIALS AND CLOSING OF PUBLIC
ACCESS TO CLERK’S OFFICE IN LIGHT Chief Judge Beryl A. Howell

OF CURRENT CIRCUMSTANCES
RELATING TO THE COVID-19
PANDEMIC

 

 

ORDER

On December 30, 2021, this Court determined that due to the state of the COVID-19 pandemic
in the District of Columbia metropolitan area, in particular the surge of new cases from the highly-
transmissible Omicron variant, all jury trials would be suspended until January 24, 2022, in order to
protect the health and safety of trial participants and others in the E. Barrett Prettyman United States
Courthouse and the William B. Bryant Annex (the “Courthouse”). The public counters of the Clerk’s
Office were ordered closed until that date. See In Re: Postponement of Jury Trials and Closing of
Public Access to Clerk’s Office in Light of Current Circumstances Relating to the COVID-19 Pandemic,
Standing Order No. 21-83 (BAH) (Dec. 30, 2021).

The Court has continued to monitor the state of the COVID-19 pandemic in this area and
concludes that a further suspension of jury trials, until February 7, 2022, is warranted. The public
counters of the Clerk’s Office will remain closed until that date. The Court’s previous findings as set
forth in Standing Order 21-83 are incorporated herein by reference, and the Court makes the following

supplemental findings in support of the further suspension:

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(a) As of January 20, 2022, the Centers for Disease Control and Prevention (“CDC”) reports that
the level of community transmission of the virus in the District of Columbia remains “high.”
Over the last seven days, the case rate per 100,000 population was 1,150.69, and the test
positivity rate was 12.7%.” Although these numbers are high, some better news may be on
the horizon, with the surge of new cases from the Omicron variant having reached its peak in
this area. The CDC reports that over the last seven days the case count in the District
dropped 33 percent and the test positivity rate dropped 10 percent.’ The District reports that
although the trends are improving, as of January 18, 2022, the daily and weekly case rates
per 100,000 population remained higher than they were one month prior.‘

(b) The District continues to operate with heightened vigilance. As part of its efforts,
the District of Columbia implemented a vaccine requirement, effective January 15, 2022, for
many indoor venues and facilities, requiring proof of at least one dose of COVID-19 vaccine
for all people 12 years of age and older for entry.” As of February 15, 2022, proof of full
vaccination will be required in restaurants, nightclubs, movie theaters, gyms, and conference
centers, among other places.°

In light of the aforementioned circumstances and those incorporated by reference from Standing

Order No. 21-83, after consultation with the Federal Public Defender’s Office and U.S. Attorney’s

 

; COVID Data Tracker: COVID-19 Integrated County View, CENTERS FOR DISEASE CONTROL AND PREVENTION,
https://covid.cdc.gov/covid-data-tracker/#county-view (last visited Jan. 20, 2022).
2

Id.
3 Id.
4 Coronavirus Data for January 18, 2022, GOVERNMENT OF THE DISTRICT OF COLUMBIA (Jan. 19, 2022),
https://coronavirus.dc.gov/release/coronavirus-data-january- 18-2022.
5 OFFICE OF THE MAYOR OF THE DISTRICT OF COLUMBIA, MAYOR’S ORDER 2021-148: VACCINATION REQUIREMENT

FOR ENTRANCE INTO CERTAIN INDOOR ESTABLISHMENTS AND FACILITIES (Dec. 22, 2021),
https://coronavirus.dc.gov/sites/default/files/dc/sites/coronavirus/page_content/attachments/202 1 -
148%20Vaccination’20Requirement%20for%20Entrance%20into%20Certain%o20Indoor%20Establishments%20and%20Fa
cilities.pdf; see also VaxDC, GOVERNMENT OF THE DISTRICT OF COLUMBIA, https://coronavirus.dc.gov/release/coronavirus-
data-january-18-2022 ((last visited Jan. 20, 2022).

6 See VaxDC, supra note 5.
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Office for the District of Columbia, both of which support the suspension of jury trials until at least
February 7, 2022, and in recognition of the continuing high rates of transmission in the District of
Columbia and the need for continued caution to protect public health and safety, it is hereby
ORDERED:

1. Jury Trials: All jury trials are suspended until February 7, 2022. The Court will
reassess the local public health situation before that date to determine whether jury trials may resume
on that date or should be further suspended. This Court previously determined that a Speedy Trial Act
exclusion was appropriate through February 18, 2022, for those criminal cases that cannot be tried
consistent with health and safety protocols before that date, as the ends of justice served by the
continuances to protect public health and safety and the fair trial rights of a defendant outweighed the
best interest of the public and any defendant’s right to a speedy trial, pursuant to 18 U.S.C.

§ 3161(h)(7)(A). See In Re: Speedy Trial Act Exclusions in Light of Current Circumstances Relating to
the COVID-19 Pandemic, Standing Order No. 21-79 (BAH) (Dec. 13, 2021). The presiding Judge in
any criminal case for which a jury trial is postponed may make any additional findings and exclude
additional time, as necessary and appropriate, regarding the scheduling of any new date for trial.

2. Public Access to Clerk’s Office: The public counters of the Clerk’s Office will remain
closed until at least February 7, 2022. The Clerk’s Office itself will remain open during this time with
“essential” personnel on site and many employees working remotely.

3. Limited In-Person Proceedings: Most proceedings will continue to be conducted
remotely using the Court’s teleconference or videoconference capabilities. Videoconferencing
authority for certain criminal proceedings remains in effect until February 18, 2022. See Jn Re:
Seventh Extension of Authorization for Use of Video Teleconferencing and Teleconferencing for

Certain Criminal and Juvenile Delinquency Proceedings, Standing Order No. 21-70 (BAH) (Nov. 22,
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2021). Although the Court recognizes there may be a need to conduct certain proceedings in person,
the expectation is that in-person proceedings will be limited in number until at least February 7, 2022.
4. Further Orders: Further orders addressing court operations and proceedings in the
exigent circumstances created by the COVID-19 pandemic will be issued as circumstances warrant.
SO ORDERED.

Date: January 20, 2022

 

 

BERYL A. HOWELL
Chief Judge
